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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

     UNITED STATES OF AMERICA, §
                               §
         Plainti ,             §
                               §
     v.                        §                         NO. 4:20-CR-157-P
                               §
     CLINTON BATTLE (01), and  §
     DONNA GREEN (02),         §
                               §
         Defendants.           §


             DEFENDANT CLINTON BATTLE’S EXPERT DESIGNATIONS

     TO THE HONORABLE MARK T. PITTMAN,
     UNITED STATES DISTRICT JUDGE FOR THE
     NORTHERN DISTRICT OF TEXAS

              COMES NOW, CLINTON BATTLE (1), Defendant, by and

     through his attorneys of record, LANCE EVANS and WM. REAGAN

     WYNN, and pursuant to FED. R. CRIM. PROC. 16, provides this written

     designation of expert witnesses under Rules 702 and 703 of the

     Federal Rules of Evidence:

     1)       Robert R. Bulger, M.D.

              Dr. Bulger is a medical doctor who has practiced extensively

     in the       eld of pain management and is board certi ed by the

     American Board of Medical Specialties in pain management and

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anesthesiology. Dr. Bulger may testify regarding the usual course

of professional practice, legitimate medical purposes, clinical

medical practice generally, patient education and the prescribing

of controlled substances, including but not limited to hydrocodone,

codeine, alprazolam, tramadol, phentermine, and Qsymia. Dr.

Bulger may testify in rebuttal to government experts Tricia

Aultman, M.D., Stephen Sudderth, M.D., Kristy Smith, and Susannah

Herkert, depending on the contents of their testimony. Dr. Bulger’s

testimony will be based on his education, training, and experience.

2)   Angela Miller

     Ms. Miller is the President and General Manager of Medical

Auditing Solutions, LLC. She is a certi ed in medical coding and

healthcare compliance. She may testify regarding industry

standards for medical billing and Current Procedural Terminology

(CPT) codes, their requirements, and guidelines for use of CPT

codes. She may testify in rebuttal to government witness Martha

Luevano, depending on her testimony. Ms. Miller’s testimony will be

based on her education, training, and experience.

3)   Chris J. Dellinges, CPA, CRFAC, CFE

     Mr. Dellinges is a Certi ed Public Accountant, Certi ed

Forensic Accountant, and Certi ed Fraud Examiner. He may testify
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about his review of Dr. Battle’s bank records and other              nancial

records provided by the Government in discovery. Mr. Dellinges’

testimony will be based on his education, training, and experience.

4)   Gilberto Torrez

     Mr. Torrez is a licensed Private Investigator in the State of

Texas. He served for more than twenty years as an FBI Special

Agent and has been assigned to the New Orleans, Dallas, FBI Field

Divisions, as well as the U.S. Embassy in the Republic of Panama as

a Legal Attaché. Mr. Torrez has particularized training and expertise

in various law enforcement practices and cases involving alleged

illegal drug distribution. Mr. Torrez may testify about law

enforcement practices and “street” trade in various controlled

substances. He may testify in rebuttal to government experts Kristy

Smith, Susannah Herkert, Rick Loftis, Tyler Fleming, and Jaime

Swartwood. Mr. Torrez’s testimony will be based on his education,

training, and experience.

5)   Jane H. Buckner, MGA/QDE

     Ms. Buckner is a Master Graphologist and has testi ed as an

expert in state and federal courts in many cases during the last

four decades. Ms. Buckner may testify regarding handwriting



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     comparison analysis. Ms. Buckner’s testimony will be based on her

     education, training, and experience.

                                        Respectfully Submitted,

                                        /s/ Lance Evans
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                                        /s/ Wm. Reagan Wynn
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                                        Fort Worth, Texas 76109
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                                        ATTORNEYS FOR CLINTON BATTLE

                           CERTIFICATE OF SERVICE

          I hereby certify that on June 14, 2021, I electronically led the
     foregoing document using the Court’s CM/ECF system, thereby
     e ecting service on all counsel of record.

                                        /s/ Wm. Reagan Wynn
                                        WM. REAGAN WYNN




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